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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:10-cr-00249-AWI-BAM-2
12                                 Plaintiff,               STIPULATION RE RESTITUTION;
                                                            ORDER
13   v.
                                                            DATE: February 23, 2015
14   MONICA MARIE HERNANDEZ,                                TIME: 10:00 a.m.
                                                            JUDGE: Hon. Anthony W. Ishii
15                                 Defendant.
16

17                                              STIPULATION
18          The United States of America, by and through its counsel of record, and defendant, by and
19
     through her counsel of record, hereby stipulate as follows:
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            1.      On January 5, 2015, the defendant was sentenced by the Court to a term of
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     imprisonment and supervised release, following a guilty plea to one count of conspiracy to commit
22
23 mail, wire and bank fraud (18 U.S.C. § 1349).

24          2.      At the sentencing hearing, the Court set a further hearing to determine restitution for

25 February 23, 2015 at 10:00 a.m.
26          3.      The parties have reached this agreement and stipulation as to the restitution amount
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     owed by the defendant, as set forth below. The parties therefore jointly request that the restitution
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                                                        1
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     hearing set for February 23, 2015 be vacated if the Court orders restitution pursuant to this
 1
     stipulation.
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 3           4.     The parties agree and stipulate, and request that the Court find the following:

 4           a.     The total amount of restitution owed by defendant Hernandez is set forth in
 5 Attachment A to this stipulation. Attachment A describes the total amount of restitution and the

 6
     apportionment of restitution among defendant Hernandez’s victims in this case.
 7
             b.     The parties’ stipulation and the agreed amounts in Attachment A satisfy the
 8
     requirements of 18 U.S.C. § 3664(d)(5), requiring a determination of victim’s losses “not to exceed
 9

10 90 days after sentencing.”

11           c.     Defendant Hernandez agrees that the judgment and commitment issued in her case

12 will be amended to include the restitution amounts and apportionment agreed to in Attachment A.

13           d.     Restitution as stated in Attachment A shall be due during the period of imprisonment,
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     at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons’ Inmate Financial
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     Responsibility Program. If any amount of restitution remains unpaid after release from custody, the
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     United States Probation Officer assigned to Monica Marie Hernandez shall set a schedule ordering
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18 payments depending on the defendant's monthly income, but not less than $50.00, during the period

19 of supervised release, such payments to begin 120 days after the commencement of supervision.
20 The interest is waived.

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     IT IS SO STIPULATED.
 1
     DATED:       February 19, 2015
 2                                    /s/ Henry Z. Carbajal III
                                      HENRY Z. CARBAJAL III
 3                                    Assistant United States Attorney
 4 DATED:         February 19, 2015
                                      /s/W. Scott Quinlan
 5                                    W. SCOTT QUINLAN
                                      Counsel for Defendant
 6                                    MONICA MARIE HERNANDEZ
 7
                                             ORDER
 8
 9 IT IS SO ORDERED.

10
     Dated: February 19, 2015
11                                          SENIOR DISTRICT JUDGE

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                                                                              ATTACHMENT A
                                       Case 1:10-cr-00249-JLT-BAMRestitution
                                                                   Document    308 Filed 02/20/15 Page 4 of 4
                                                                             Amount
                                                                          Monica Marie Hernandez


                                                                          Restitution-       Restitution-
                Property                      Originating Lender          First Loan        Second Loan    Entity to Receive Resitution          Reference
                           , Bakersfield   Long Beach Mortgage Co.         $209,108.72         $80,115.38 J.P Morgan Chase Bank         Bates 35832, 35841
                             Bakersfield   Long Beach Mortgage Co.         $249,427.07        $109,330.19 J.P Morgan Chase Bank         Bates 23866, 23871
                           Bakersfield     Long Beach Mortgage Co.         $149,080.86         $69,918.74 J.P Morgan Chase Bank         Bates 21557, 21569

                                                                                                      Total:           $866,980.96


Restitution for the above properties is to be joint and several with co-defendant Eric Ray Hernandez.
Restitution for                             is to be joint and several with co-defendants Eric Ray Hernandez and Evelyn Sanchez.




                                                                                 Page 1 of 1
